  CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 1 of 37




                          Rud, et al.
                             vs.
                     Nancy Johnston, et al.

             U.S.D.C. No. 23-cv-486 (JRT/LIB)


       DECLARATION OF EMILY B. ANDERSON
     IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION AND EVIDENTIARY HEARING



                     EXHIBIT 1
      CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 2 of 37




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



 James John Rud, Brian Keith Hausfeld,       Court File No. 0:23-cv-00486-JRT-LIB
 Joshua Adam Gardner, Dwane David
 Peterson, Lynell Dupree Alexander, and
 Andrew Gary Mallan on behalf of
 themselves and all others similarly
                                               PLAINTIFFS’ NOTICE OF RULE
 situated,
                                                   30(b)(6) DEPOSITION
                     Plaintiffs,


       vs.
 Nancy Johnston, Executive Director,
 Minnesota Sex Offender Program, and Jodi
 Harpstead, Department of Human Services
 Commissioner, in their individual and
 official capacities,

                    Defendants.


      TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

      PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rules of

Civil Procedure, Plaintiffs will take the deposition examination of the Minnesota

Department of Human Services (“DHS”) by oral examination before a person authorized

by law to administer oaths at the office of the Gustafson Gluek PLLC, Canadian Pacific

Plaza, 120 South 6th Street, Suite 2600, Minneapolis, MN 55402, beginning at 9:30 a.m.,

on December 20, 2023, and thereafter by adjournment until the same shall be completed.

The deposition will be recorded by stenographic means and will be recorded by video.
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                         DEFINITIONS AND INSTRUCTIONS

       1.     The term “DHS” refers to the Minnesota Department of Human Services and

includes, without limitations, any offices and locations of DHS, as well as any of DHS’s

divisions, affiliates, subsidiaries, successors, predecessors, present or former partners,

officers, directors, employees, agents, attorneys or representatives, and all other persons or

entities acting, purporting to act or authorized to act on their behalf.

       2.     “Plaintiffs” refers to the Plaintiffs listed in the above-entitled action.

       3.     “Defendants” refers to the named defendants in the above-entitled action.

       4.     “MSOP” refers to the Minnesota Sex Offender Program.

       5.     “Reduction in Custody” refers to transfer to Community Preparation Services

(“CPS) or any other transfer to a less secure treatment facility or program.

       6.     “Document” is to be synonymous in meaning and equal in scope to the usage

of this term in Federal Rule of Civil Procedure 34.

       7.     “Policies and Procedures” means written or unwritten, public or nonpublic,

policies and/or procedures relating to the operation of the MSOP.

       Unless otherwise indicated, the relevant time for the matters designated below is

January 1, 2010, to the present.

            MATTERS DESIGNATED FOR DEPOSITION TESTIMONY

       Pursuant to the provisions of Rule 30(b)(6) of the Federal Rules of Civil Procedure,

counsel must promptly meet and confer about these 30(b)(6) topics. We ask you to provide

us dates for that meet and confer prior to December 8, 2023. if the date of the deposition



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we noticed in inconvenient, we will endeavor to accommodate your scheduling issues as

best we can.

      To comply with this notice, the DHS is hereby directed to designate one or more

officers, directors, managing agents, or other persons who consent to testify about

information that is known or reasonably available to DHS concerning the following

matters:

      1.       The Policies and Procedures related to the transfer of individuals who have

Commitment Appeal Panel (“CAP”) orders for transfer to a Reduction in Custody.

      2.       The identity of each individual who submitted a petition for Reduction in

Custody within the time period, and for each individual, the following information:

               a. The date of the Initial Petition for Reduction in Custody;

               b. The date of the Special Review Board (SRB) hearing;

               c. The date of the SRB decision;

               d. The date of the CAP hearing;

               e. The date of the CAP order;

               f. The date DHS received the CAP order;

               g. The date of the request for rehearing or reconsideration of the CAP

                  orders, if any;

               h. The date of the appeal of the CAP order, if any:

               i. The date of the appellate decision, if any:

               j. The date the CAP order became final and no longer appealable; and

               k. The date of final resolution by the Minnesota courts.

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       3.     The date of the actual transfer (reduction in custody) for each of the

individuals identified in Topic No. 2 and if not yet transferred, the number of calendar days

that individual has been waiting for transfer after the CAP order became final and no longer

appealable and that individual’s placement on the waiting list, if any.

       4.     All communications with individuals identified in Topic No. 2 after the date

the CAP order became final and no longer appealable and the Policies and Procedures

relating to communicating and/or providing notice to these individuals.

       5.     All Policies and Procedures that relate to individuals identified in Topic No.

2 and such individuals’ opportunities or avenues to object the timeliness with which their

final CAP orders are implemented.

       6.     The identity of any person(s) (including person(s) outside DHS or MSOP)

who provided input or was involved in any decisions relating to not appealing or seeking

any other form of relief from CAP orders.

       7.     The identity of any person(s) (including person(s) outside DHS or MSOP)

who made provided input or was involved in any decisions relating to not transferring

individuals identified in Topic No. 2 to a Reduction in Custody within the fifteen-day

automatic stay that applies to CAP orders.

       8.     Whether CPS had adequate bed availability and staffing at CPS or at Moose

Lake (in a CPS type setting) to accommodate each individual identified in Topic No. 2

when their CAP orders became final and no longer appealable.

       9.     Any discussions about alternatives to not transferring individuals identified

in Topic No. 2, including creating alternative sites or beds for CPS accommodations and

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staffing and any person(s) who provided input or was involved in the discussions or

decisions.

       10.    The reasons, if any, that each of the individuals identified in Topic No. 2

could not be transferred within 15 days of their CAP orders becoming final and no longer

appealable.

       11.    What DHS considers to be a “reasonable” time, under McDeid v. Johnston,

984 N.W.2d 864 (Minn. 2023), to effectuate CPS orders that have become final and

nonpeelable by transferring individuals with such orders to CPS when CPS is fully staffed

and has available beds that are appropriate for such individuals.

       12.    What DHS contends, now and in the past, that the law requires it to do with

respect to CAP orders when MSOP and/or DHS lacks fully staffed and appropriate beds at

the time a CAP order becomes final and no longer appealable.

       13.    What actions have been taken, or efforts made to take such action, to provide

the services and opportunities provided to individuals at CPS (i.e. less restrictions and/or

preparations for provisional release) to individuals residing in non-CPS facilities awaiting

transfer on CAP orders that have become final and non-appealable.

       14.    The factual basis for any contention that DHS and/or MSOP did not have

fully staffed and appropriate beds available at CPS during any time any individual

identified in Topic 2 had a CAP order that had become final and no longer appealable.




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Dated: December 5, 2023               GUSTAFSON GLUEK PLLC

                                      /s/Daniel E. Gustafson
                                      Daniel E. Gustafson (#202241)
                                      Joseph E. Nelson (#402378)
                                      Matt Jacobs (#403465)
                                      Canadian Pacific Plaza
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                                      FREMSTAD LAW
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                                      Attorneys for Plaintiffs and the Proposed
                                      Classes




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                          Rud, et al.
                             vs.
                     Nancy Johnston, et al.

             U.S.D.C. No. 23-cv-486 (JRT/LIB)


      DECLARATION OF EMILY B. ANDERSON
    IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION AND EVIDENTIARY HEARING



                     EXHIBIT 2
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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 James John Rud, Brian Keith Hausfeld,            Court File No. 0:23-cv-00486-JRT-LIB
 Joshua Adam Gardner, Dwane David
 Peterson, Lynell Dupree Alexander, and
 Andrew Gary Mallan on behalf of                  PLAINTIFFS’ FIRST SET OF
 themselves and all others similarly              INTERROGATORIES TO
 situated,                                        DEFENDANTS


                             Plaintiffs,

 v.

 Nancy Johnston, Executive Director,
 Minnesota Sex Offender Program, and Jodi
 Harpstead, Department of Human Services
 Commissioner, in their individual and
 official capacities,

                             Defendants.


TO:    DEFENDANTS, THROUGH THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that pursuant to Rule 33 of the Federal Rules of Civil

Procedure, Plaintiffs request that, within thirty (30) days, Defendants answer the

following interrogatories to the offices of Gustafson Gluek PLLC, Canadian Pacific

Plaza, 120 South 6th Street, Suite 2600, Minneapolis, Minnesota 55402.

       These Interrogatories are deemed to be continuing. Should Defendants obtain any

other information that would supplement or modify the information supplied in response

to these Requests, Defendants are directed, pursuant to Rule 26(e) of the Federal Rules of




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Civil Procedure, to give timely notice of such information and to furnish the additional

information to Plaintiffs as soon as practicable.

                                      DEFINITIONS

       1.     “And” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive; and “any” as used herein

means “each and every” as well as “any one.”

       2.     A “document”—including its plural form “documents”—means anything

which may be considered a tangible thing, including but not limited to any written, printed,

typewritten, handwritten, recorded, or other graphic matter or computer generated or stored

information, whether produced in hard copy or other tangible medium or presently stored

within the memory of a computer or other storage device (e.g., compact discs, digital

versatile discs, flash drives, floppy disks, hard disks, magnetic stripe cards, micro-fiche,

microfilms, optical discs, tapes, etc.) now or at any time in Defendants’ possession,

custody, or control. The definition of “document” also includes, but is not limited to, any

personnel records, address records, telephone records, manufacturing records, schematics,

blueprints, complaint records, calendars, computer printouts, computer programs, files,

transcripts, cables, correspondence, memoranda, electronic mail transmissions (i.e., e-mail

or email), short message service text messages, electronic chat transcripts, facsimiles,

letters, telegraphs, telexes, agreements, contracts, memoranda of understandings,

accounting books, accounting records, appraisals, books of accounts, financial forecasts,

financial projections financial statements, journals, journal entries, ledgers, ledger entries,

photographs, lists, databases, spreadsheets, daybooks, diaries, jottings, minutes, notebooks,

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notes or any other fixed thought or idea, work papers, books, bulletins, guides, guidelines,

magazines, manuals, newsletters, newspapers, policies, publications, and all preliminary

versions and drafts, revisions of, or notations on any of the foregoing, including all non-

identical copies and drafts of any of the foregoing, and all summaries, analyses, or reports

relating or referring, in whole or in part, to any of the foregoing.

       3.     The term “communications” means the transmittal of any information by any

means in the form of facts, ideas, opinions, thoughts, inquiries or otherwise.

       4.     The words “you” and “your” refer to each Defendant in receipt of these

requests or any attorney or agent performing the services referred to herein or acting on its

behalf. “You” and “your” also includes all instrumentalities of the State and all its political

subdivisions, government entities, officers in their official capacity, governmental units,

agencies, authorities, boards, and commissions.

       5.     The term “concerning” means relating to, referring to, describing,

establishing, demonstrating, evidencing, constituting, or any combination of these.

       6.     “Person” means any natural person acting in any capacity or any entity or

organization, including divisions, departments and other units therein, and including, but

not limited to, a public or private corporation, partnership, association, joint venture,

committee, proprietorship, trust, estate, or any government or governmental body,

including, but not limited to, any commission, board, bureau, or agency.

       7.     “Relating to” or “relating to” means consisting of, referring to, describing,

discussing, constituting, evidencing, containing, reflecting, mentioning, concerning,



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pertaining to, citing, summarizing, analyzing, or bearing any logical or factual connection

with the matter discussed.

       8.      “Including” means “including but not limited to” and “including without

limitation.”

       9.      The word “correspondence” includes any cables, correspondence,

memoranda, electronic mail transmissions (i.e., e-mail or email), short message service text

messages, electronic chat transcripts, facsimiles, letters, telegraphs, and telexes, and all

preliminary versions and drafts, revisions of or notations on any of the foregoing, including

all non-identical drafts of any of the foregoing, and all summaries, analyses or reports

relating or referring, in whole or in part, to any of the foregoing.

       10.     The term “DHS” refers to the Minnesota Department of Human Services and

includes, without limitations, any offices and locations of DHS, as well as any of DHS’s

divisions, affiliates, subsidiaries, successors, predecessors, present or former partners,

officers, directors, employees, agents, attorneys or representatives, and all other persons or

entities acting, purporting to act or authorized to act on their behalf.

       11.     “Plaintiffs” refers to the Plaintiffs listed in the above-entitled action.

       12.     “Defendants” refers to the named defendants in the above-entitled action.

       13.     “MSOP” refers to the Minnesota Sex Offender Program.

       14.     “Patient” refers to any individual committed to the custody of the MSOP.

       15.     “Reduction in Custody” refers to transfer to Community Preparation Services

(“CPS) or any other transfer to a less secure treatment facility or program.



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      16.     “Final CAP Order” refers to an order from the Commitment Appeal Panel

(“CAP”) ordering the transfer of a Patient to a Reduction in Custody that is no longer

appealable.

      17.     All other words or terms should either be given and interpreted according to

their common and typical meanings and usage.

                                   INSTRUCTIONS

      1.      Any Interrogatory that inquires about the knowledge, conduct, activities, or

materials possessed by any Defendant will be taken to include the knowledge, conduct,

activities, or materials possessed by that Defendant’s present or former officers,

investigators, accountants, attorneys, directors, members, managers, partners, employees,

and other agents of that Defendant. Similarly, references to “personnel” of that Defendant

will include that Defendant’s present or former investigators, accountants, attorneys,

directors, officers, members, managers, partners, employees, and other agents of that

Defendant.

      2.      Whenever in these Interrogatories there is a request to “identify” a

communication or conversation, the answering party shall: (1) state the date and place of

such communication or conversation; (2) identify each person who was present at, involved

in, or who participated in such communication or conversation; (3) identify the type of

communication or conversation (e.g., letter, telegram, conference, meeting, telephone

conversation); (4) state the substance of such communication or conversation; and (5)

identify each document constituting or referring to such communication or conversation.



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       3.     Whenever in these Interrogatories there is a request to “identify” or “set

forth” information about an individual, the answering party shall state with respect to such

individual: (1) the individual’s name; (2) the individual’s business or home address; (3) the

individual’s business and home telephone number; (4) the individual’s present or last

known employer and present and/or last known position; and (5) all positions the individual

has held with the answering party (including the dates each period of employment

commenced and terminated, and a brief description of the responsibility of such position).

       4.     Whenever in these Interrogatories there is a request to “identify” a document,

the answering party shall set forth: (1) the individuals who prepared or assisted in preparing

the document; (2) the individuals who reviewed or approved the document; (3) the

addressees and all other persons receiving a copy of the document; (4) the document’s date;

(5) its present location; (6) its present custodian; (7) the type of document (e.g., letter,

memorandum, tape recording, CD, or other form of document); and (8) a summary of the

contents of the document. Alternatively, whenever in these interrogatories there is a

request to “identify” a document, the answering party may produce the documents to

Plaintiff in lieu of identifying the document as required by this instruction if: (1) the

answering party clearly indicates the interrogatory to which the document is responsive at

the time the document is produced to Plaintiff; and (2) the answering party clearly indicates

in its answer to any such interrogatory that the document or documents will be produced

to Plaintiff in lieu of being separately identified in the response.

       5.     If you assert or claim any form of privilege as a ground for not responding to

an interrogatory or any part of an interrogatory, in whole or in part, whether based on statute

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or otherwise founded, enumerate in complete detail, each fact upon which the asserted or

claimed privilege is based, including what specific privilege is being asserted or claimed

and the basis for asserting or claiming that privilege.

       6.     If you assert or claim any form of privilege as a ground for not describing

requested oral communications or documents, whether based on statute or otherwise

founded, provide a complete privilege log and state the following: (a) date, (b) type (e.g.,

letter, memorandum, manual, etc.), (c) author, (d) identity of the addressee and all

recipients, (e), the identity of all other persons who received copies, or were otherwise

permitted to see all or part of the original or any copy thereof, (f) a description of each

subject matter discussed, described, or referred to therein, (g) the identity of the present

custodian, (h) the specific reason for your claim or assertion of privilege or other objection,

and (i) each fact or basis upon which you claim or assert the privilege.

       7.     Where an Interrogatory asks that a date, an amount, or any other specific

information be provided or described, your best approximation of the information

requested, and the basis upon which your approximation is founded, is to be given if the

precise information required is unknown to you.

                                  INTERROGATORIES

INTERROGATORY NO. 1:

       Identify of each Patient who received a Final CAP Order and, for each Patient and

to the extent applicable, identify the following:

              a. The date of the Patient’s petition for transfer;

              b. The date of the Special Review Board (SRB) hearing;

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              c. The date of the SRB decision;

              d. The date of the CAP hearing;

              e. The date of the CAP order;

              f. The date DHS received the CAP order;

              g. The date of the request for rehearing or reconsideration of the CAP

                  orders, if any;

              h. The date of the appeal of the CAP order, if any:

              i. The date of the appellate decision, if any:

              j. The date the CAP order became final and no longer appealable; and

              k. The date of final resolution by the Minnesota courts.

INTERROGATORY NO. 2:

       Identify the range of days (the shortest to the longest) and the average number of

days between a Patient’s receipt of a Final CAP Order and that Patient’s transfer to a

Reduction in Custody.

INTERROGATORY NO. 3:

       Describe all actions that have been taken, attempted, and/or considered, to provide

any treatment, services, or opportunities to individuals with Final CAP Orders awaiting

transfer (at their current location) to a Reduction in Custody that are not ordinarily provided

to Patients without Final CAP Orders.




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INTERROGATORY NO. 4:

      Describe all actions that have been taken, attempted, and/or considered to increase

the number of beds or level of staffing at CPS, or otherwise increase MSOP’s ability to

transfer Patients with Final CAP Orders to a Reduction in Custody.

INTERROGATORY NO. 5:

      Identify and describe the role of any individual within MSOP who has any authority

or discretion or decision making to effectuate or influence the transfer of Patients with

Final CAP Orders to a Reduction in Custody.

INTERROGATORY NO. 6:

      Describe any policies, procedures, or practices at DHS and MSOP relating to the

receipt and handling of Final CAP Orders and the monitoring or tracking of Patients who

have received Final CAP Orders and have not been transferred to a Reduction in Custody.

 Dated: December 13, 2023                      GUSTAFSON GLUEK PLLC

                                               /s/Daniel E. Gustafson
                                               Daniel E. Gustafson (#202241)
                                               Joseph E. Nelson (#402378)
                                               Matt Jacobs (#403465)
                                               Canadian Pacific Plaza
                                               120 South Sixth Street, Suite 2600
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                                 FREMSTAD LAW
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                                 Attorneys for Plaintiffs and the Proposed
                                 Classes




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                         Rud, et al.
                            vs.
                    Nancy Johnston, et al.

            U.S.D.C. No. 23-cv-486 (JRT/LIB)


      DECLARATION OF EMILY B. ANDERSON
    IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION AND EVIDENTIARY HEARING



                     EXHIBIT 3
       CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 20 of 37


From:               Emily Anderson
To:                 Dan Gustafson; Aaron Winter
Cc:                 Joe Nelson; Matt Jacobs; Karla Gluek; Jacqueline Clayton
Subject:            RE: Rud v. Harpstead
Date:               Thursday, January 18, 2024 10:21:00 AM


Hi Dan,

Can you provide more detail on what you’re looking for, so we can determine whether there’s a
material factual dispute?

With respect to the “lack of process” topic you indicate below, Defendants’ position is in the record:
contempt is process that Defendants believe is available, and there’s plenty of evidence in the
record about CAP contempt hearings from your declaration and publicly available judicial records. As
to whether existing process is constitutionally “adequate,” that’s a legal determination, not a factual
question that Ms. Johnston or anyone else could testify about. What other facts are you looking for
on the question of process? That may help us determine if we can provide you something in a
declaration that would answer the question you have.

As to the “lack of changes” topic, Ms. Johnston has previously testified about that (Doc. 29, pars. 7-
28). Are you looking to confirm any updates to that history in the intervening months? Or is there
some other specific information you’re looking for?

Similarly, Ms. Hebert testified about how treatment phases are determined and treatment phase’s
interaction with CPS (Doc. 31, pars. 8-11). What additional information are you looking to get about
“lack of treatment progress that would have occurred?”

We’re open to working with Plaintiffs on making a clear record on facts that aren’t disputed, but
since all the information you’re apparently seeking is from our client, we’re having trouble seeing
how additional facts Defendants can provide could be material or disputed such that an evidentiary
hearing would be necessary.

Thanks,

Emily B. Anderson (she/her)
Assistant Attorney General
Office of the Minnesota Attorney General
445 Minnesota Street | St. Paul, MN | 55101
Office Phone: (651) 757-1374
Cell: (651) 583-7395
Emily.Anderson@ag.state.mn.us


From: Dan Gustafson <DGustafson@gustafsongluek.com>
Sent: Wednesday, January 17, 2024 1:37 PM
To: Emily Anderson <Emily.Anderson@ag.state.mn.us>; Aaron Winter
<Aaron.Winter@ag.state.mn.us>
Cc: Joe Nelson <jnelson@gustafsongluek.com>; Matt Jacobs <mjacobs@gustafsongluek.com>; Karla
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Gluek <kgluek@gustafsongluek.com>; Jacqueline Clayton <Jacqueline.Clayton@ag.state.mn.us>
Subject: RE: Rud v. Harpstead

Emily

Thinking a bit more about this, I would also need testimony from Ms.
Johnston about the lack of process, the lack of changes that could have
been made a msop and the lack of treatment progress that would have
occurred, so I don’t think we will be able to agree on a declaration
unless we can add those topics as well
Dan

Daniel E. Gustafson (profile)
(He/Him/His)  
Gustafson Gluek PLLC
Canadian Pacific Plaza
120 South Sixth Street, Suite 2600
Minneapolis, MN 55402
Office Phone: (612) 333-8844
Cell Phone:     (612) 850-2288

website | vCard | map

committed to the protection of fair competition ...



From: Emily Anderson <Emily.Anderson@ag.state.mn.us>
Sent: Wednesday, January 17, 2024 1:21 PM
To: Dan Gustafson <DGustafson@gustafsongluek.com>; Aaron Winter
<Aaron.Winter@ag.state.mn.us>
Cc: Joe Nelson <jnelson@gustafsongluek.com>; Matt Jacobs <mjacobs@gustafsongluek.com>; Karla
Gluek <kgluek@gustafsongluek.com>; Jacqueline Clayton <Jacqueline.Clayton@ag.state.mn.us>
Subject: RE: Rud v. Harpstead

Hi Dan,

If what you’re looking for is just evidence of how long it takes MSOP to transfer a person from the
secure perimeter to CPS once a staffed bed at CPS becomes available, Defendants are happy to put
in a declaration stating that information. (I don’t know what the answer to that question is, but for
example: “Once MSOP determines there is adequate staffing and bedspace at CPS to house a new
client, it typically takes no more than [NUMBER] days to transfer a client from the facility at Moose
Lake to CPS or [NUMBER] days from the secure perimeter at St. Peter to CPS.“) Combined with the
previous declarations that explain what the “staffed bed” constraints mean (at ECF 29 & ECF 31), I
think that would answer the issue you identify.
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If that’s true, we don’t see the need for an evidentiary hearing, especially since you’ve indicated
Plaintiffs’ theory on Count II hasn’t changed and Judge Tunheim has already granted a PI based on
the record available to him. Please let us know if you agree.

Thanks,

Emily B. Anderson (she/her)
Assistant Attorney General
Office of the Minnesota Attorney General
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Office Phone: (651) 757-1374
Cell: (651) 583-7395
Emily.Anderson@ag.state.mn.us


From: Dan Gustafson <DGustafson@gustafsongluek.com>
Sent: Tuesday, January 16, 2024 12:01 PM
To: Emily Anderson <Emily.Anderson@ag.state.mn.us>; Aaron Winter
<Aaron.Winter@ag.state.mn.us>
Cc: Joe Nelson <jnelson@gustafsongluek.com>; Matt Jacobs <mjacobs@gustafsongluek.com>; Karla
Gluek <kgluek@gustafsongluek.com>
Subject: RE: Rud v. Harpstead

Thanks Emily

See my ALL CAPS BELOW

We agree the hearings should be together

I think only Nancy Johnston as a witness (assuming we can agree on
court orders from CAP) and maybe Commissioner although I don’t think
so now

I think 90 minutes tops

Thanks Emily

Dan

Daniel E. Gustafson (profile)
(He/Him/His)  
Gustafson Gluek PLLC
Canadian Pacific Plaza
      CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 23 of 37


120 South Sixth Street, Suite 2600
Minneapolis, MN 55402
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From: Emily Anderson <Emily.Anderson@ag.state.mn.us>
Sent: Tuesday, January 16, 2024 11:11 AM
To: Dan Gustafson <DGustafson@gustafsongluek.com>; Aaron Winter
<Aaron.Winter@ag.state.mn.us>
Cc: Joe Nelson <jnelson@gustafsongluek.com>; Matt Jacobs <mjacobs@gustafsongluek.com>; Karla
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JOHNSTON IS ONLY ONE I SEE NOW EXCEPT MAYBE COMMISSIONER?

DAN

Thanks,
       CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 24 of 37


Emily B. Anderson (she/her)
Assistant Attorney General
Office of the Minnesota Attorney General
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Cell: (651) 583-7395
Emily.Anderson@ag.state.mn.us


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Sent: Tuesday, January 16, 2024 10:34 AM
To: Aaron Winter <Aaron.Winter@ag.state.mn.us>; Emily Anderson
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Cc: Joe Nelson <jnelson@gustafsongluek.com>; Matt Jacobs <mjacobs@gustafsongluek.com>; Karla
Gluek <kgluek@gustafsongluek.com>
Subject: RE: Rud v. Harpstead

Emily and Aaron

Hope you had a nice holiday weekend

Can you let me know your position on this hearing?

Thanks

Dan

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(He/Him/His)  
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From: Dan Gustafson
Sent: Friday, January 12, 2024 3:19 PM
To: Aaron Winter <Aaron.Winter@ag.state.mn.us>; Emily Anderson
<Emily.Anderson@ag.state.mn.us>
Cc: Joe Nelson <jnelson@gustafsongluek.com>; Matt Jacobs <mjacobs@gustafsongluek.com>; Karla
      CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 25 of 37


Gluek <kgluek@gustafsongluek.com>
Subject: Rud v. Harpstead

Emily and Aaron

We have fully briefed the motion to dismiss and await your response to
our motion for PI and evidentiary hearing. I am fine with submitting my
reply by January

I plan to reach out to Judge Tunheim’s chambers and seek a late
January, early February date for evidentiary hearing and motion to
dismiss argument.

I request that you join me in that request and if not, please let me know
your response so I can advise the Court.

Please let me know.

Have a nice weekend and stay safe.

Dan

Daniel E. Gustafson (profile)
(He/Him/His)  
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 CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 27 of 37




                         Rud, et al.
                            vs.
                    Nancy Johnston, et al.

            U.S.D.C. No. 23-cv-486 (JRT/LIB)


      DECLARATION OF EMILY B. ANDERSON
    IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION AND EVIDENTIARY HEARING



                     EXHIBIT 4
      CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 28 of 37


From:            Dan Gustafson
To:              Emily Anderson; Aaron Winter
Cc:              Joe Nelson; Matt Jacobs; Karla Gluek; Jacqueline Clayton
Subject:         RE: Rud v. Harpstead
Date:            Wednesday, January 17, 2024 1:25:33 PM



I would also need a statement (by someone that binds the state) that if a
bed were available, a person would be transferred within a week (or
whatever it is)

Dan

Daniel E. Gustafson (profile)
(He/Him/His)  
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Minneapolis, MN 55402
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From: Emily Anderson <Emily.Anderson@ag.state.mn.us>
Sent: Wednesday, January 17, 2024 1:21 PM
To: Dan Gustafson <DGustafson@gustafsongluek.com>; Aaron Winter
<Aaron.Winter@ag.state.mn.us>
Cc: Joe Nelson <jnelson@gustafsongluek.com>; Matt Jacobs <mjacobs@gustafsongluek.com>; Karla
Gluek <kgluek@gustafsongluek.com>; Jacqueline Clayton <Jacqueline.Clayton@ag.state.mn.us>
Subject: RE: Rud v. Harpstead

Hi Dan,

If what you’re looking for is just evidence of how long it takes MSOP to transfer a person from the
secure perimeter to CPS once a staffed bed at CPS becomes available, Defendants are happy to put
in a declaration stating that information. (I don’t know what the answer to that question is, but for
example: “Once MSOP determines there is adequate staffing and bedspace at CPS to house a new
client, it typically takes no more than [NUMBER] days to transfer a client from the facility at Moose
Lake to CPS or [NUMBER] days from the secure perimeter at St. Peter to CPS.“) Combined with the
previous declarations that explain what the “staffed bed” constraints mean (at ECF 29 & ECF 31), I
think that would answer the issue you identify.
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If that’s true, we don’t see the need for an evidentiary hearing, especially since you’ve indicated
Plaintiffs’ theory on Count II hasn’t changed and Judge Tunheim has already granted a PI based on
the record available to him. Please let us know if you agree.

Thanks,

Emily B. Anderson (she/her)
Assistant Attorney General
Office of the Minnesota Attorney General
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Office Phone: (651) 757-1374
Cell: (651) 583-7395
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      CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 30 of 37


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Emily B. Anderson (she/her)
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       CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 31 of 37


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      CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 32 of 37


Subject: Rud v. Harpstead

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Please let me know.

Have a nice weekend and stay safe.

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                         Rud, et al.
                            vs.
                    Nancy Johnston, et al.

            U.S.D.C. No. 23-cv-486 (JRT/LIB)


      DECLARATION OF EMILY B. ANDERSON
   IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION AND EVIDENTIARY HEARING



                      EXHIBIT 5
       CASE 0:23-cv-00486-JRT-LIB Doc. 112-1 Filed 01/24/24 Page 35 of 37


From:            Dan Gustafson
To:              Emily Anderson; Aaron Winter
Cc:              Joe Nelson; Matt Jacobs; Karla Gluek; Jacqueline Clayton
Subject:         RE: Rud v. Harpstead
Date:            Monday, January 22, 2024 4:07:49 PM



Emily and all

I suspect that we will not reach agreement in any event so you should
put in your opposition Wednesday as you see fit and we will file our
response.
But see my comments below

Dan

Daniel E. Gustafson (profile)
(He/Him/His)  
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From: Emily Anderson <Emily.Anderson@ag.state.mn.us>
Sent: Monday, January 22, 2024 3:53 PM
To: Dan Gustafson <DGustafson@gustafsongluek.com>; Aaron Winter
<Aaron.Winter@ag.state.mn.us>
Cc: Joe Nelson <jnelson@gustafsongluek.com>; Matt Jacobs <mjacobs@gustafsongluek.com>; Karla
Gluek <kgluek@gustafsongluek.com>; Jacqueline Clayton <Jacqueline.Clayton@ag.state.mn.us>
Subject: RE: Rud v. Harpstead

Dan,

You did not address what Plaintiffs meant by their comment that they were considering moving for a
TRO. Can you please clarify what you’re looking for from Defendants on this issue? We are not
looking for anything from Defendants on this issue. We want an earlier hearing which I suppose you
could support but not asking for that.

With respect to the information Plaintiffs now seek for the injunction, the parties have previously
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discussed the scope of the evidentiary hearing based on Plaintiffs request in the PI motion (ECF No.
104 at 7) – specifically, issue #1 below - which Defendants have already agreed to provide testimony
on, though again, we still need to confirm the timeline and don’t know right now whether “within a
week” is accurate. Let me know when you can say on that

Topics #2-5 are new after your motion, so it is unclear how Ms. Johnston’s testimony on these new
topics is material to the resolution of the preliminary injunction motion. In addition, Ms. Johnston
has previously provided testimony about some of these topics (though inconsistent with the
formulation you’ve presented, which presents another problem with her swearing to those
statements: they aren’t accurate). How are they inaccurate? Can you please explain how these new
topics are relevant to your motion and how they are materially different than what has already been
presented to the Court? The other topics go to whether MSOP could have mitigated the damage by
taking steps to avoid the “no beds in CPS; st peter”

As you know, Defendants’ response is due Wednesday, so we’ll likely submit our position to the
Court as it stands. But we think it’s important to continue this discussion to see if we can narrow
what material facts are in dispute prior to a potential hearing. Yes I agree

Thanks!

Emily B. Anderson (she/her)
Assistant Attorney General
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From: Dan Gustafson <DGustafson@gustafsongluek.com>
Sent: Monday, January 22, 2024 9:22 AM
To: Emily Anderson <Emily.Anderson@ag.state.mn.us>; Aaron Winter
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Gluek <kgluek@gustafsongluek.com>; Jacqueline Clayton <Jacqueline.Clayton@ag.state.mn.us>
Subject: RE: Rud v. Harpstead

Emily

If you all put in a declaration from Nancy Johnston in your opposition
that says

         1. If we have a staffed bed available, transfer to CPS can occur
            within a week from CAP order becoming final.
         2. MSOP does not have a process by which patients can challenge
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          a decision not to transfer them to CPS within a week of CAP
          order becoming final
       3. MSOP has not taken any steps with CAP to have final orders
          stayed because of a lack of staffed beds.
       4. MSOP has not taken any steps at Moose Lake to create a CPS
          facility there to mitigate the lack of beds at CPS St. Peter.
       5. MSOP has available space that could be used to create another
          CPS program at Moose lake facility

I will likely agree to have the injunction ruled on the papers

Stay safe

Dan
Daniel E. Gustafson (profile)
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